Case 2:19-cv-15962-JXN-LDW Document 526-3 Filed 04/14/22 Page 1 of 4 PageID: 42305




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc., CommScope Inc. of ) Civil Action No. 19-cv-15962-JXN-
   North Carolina, and CommScope      ) LDW
   Technologies, LLC,                 )
                                      )
               Plaintiffs,            )
                                      ) DECLARATION OF SAMMIT
   v.                                 ) PATEL IN SUPPORT OF JOINT
                                      )   MOTION OF ALL PARTIES
   Rosenberger Technology (Kunshan)   ) FOR RECONSIDERATION OF
   Co. Ltd., Rosenberger Asia Pacific )       THE DENIAL OF THE
   Electronic Co., Ltd., Rosenberger  )   REQUESTED EXTENSION
   Technology LLC, Rosenberger USA    )         BASED ON NEW
   Corp., Rosenberger North America   ) INFORMATION, OR, IN THE
   Pennsauken, Inc., Rosenberger Site ) ALTERNATIVE, TO STAY THE
   Solutions, LLC, Rosenberger        )           LITIGATION
   Hochfrequenztechnik GmbH & Co.     )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB,           )
                                      )
               Defendants.            )
                                      )

        I, Sammit Patel, declare as follows:

        1.     I am the Vice President of Engineering for CommScope’s base station

  antenna business unit. I manage teams of engineers in CommScope’s research and

  design facilities in China. I have personal knowledge of the facts set forth herein.

        2.     I understand that Defendants have sought to depose Xu Guolong

  (“Dragon”), Wu Ligang, and Li Yuemin (“Paul”) from CommScope in this

  litigation. I manage Dragon who supervises Wu Ligang and Paul. These three
Case 2:19-cv-15962-JXN-LDW Document 526-3 Filed 04/14/22 Page 2 of 4 PageID: 42306




  CommScope witnesses work in CommScope’s Suzhou, China facilities and live in

  the Suzhou area. These facilities are located in Mainland China.

        3.     Suzhou is approximately one hour by train outside of Shanghai. The

  CommScope witnesses would be traveling through Shanghai’s airports for the

  depositions in this case. For depositions during expedited discovery, the China-

  based witnesses who testified for CommScope traveled through Shanghai’s

  airports to Hong Kong.

        4.     In light of the rising COVID cases in the Shanghai area, the Chinese

  government has instituted lockdowns, including for Shanghai. Under the lockdown

  policies, I understand that residents are confined to their homes and unable to leave

  even for essential purposes, such as buying groceries.

        5.     The Suzhou area is not currently in lockdown, but the government

  there is testing everyone (a city of over 7 million people). If one person in a

  neighborhood in Suzhou tests positive for COVID, then the entire neighborhood

  goes into lockdown for up to two weeks. Currently, 180 CommScope Suzhou

  employees are in lockdown. CommScope’s Environmental, Health and Safety team

  has assessed Suzhou as a high risk for completely locking down.

        6.     The quarantine policies in China vary by city or province and are

  subject to change with little notice. I understand that under the current COVID

  restrictions in China, travelers who leave Mainland China face mandatory

                                            2
Case 2:19-cv-15962-JXN-LDW Document 526-3 Filed 04/14/22 Page 3 of 4 PageID: 42307




  quarantine periods up to 56 days. These quarantine policies would require the

  witnesses to spend up to several weeks away from their families in quarantine

  facilities.

         7.     I understand that if the CommScope witnesses travel to Singapore or

  Hong Kong, for example, they would have to quarantine upon return to the

  mainland for 14 days in a designated hotel, another 14 days at home in a locked

  single room, with no contact with their family members, and then undergo another

  28 days of health monitoring.

         8.     The policies have the potential for material hardships for the

  witnesses. For example, I understand that Xu Guolong (“Dragon”)’s minor son

  recently went through heart surgery, and China’s quarantine policies would require

  Dragon to quarantine away from his son during the recovery, such as attending his

  son’s regular check ups to ensure the implant is working as expected.

         9.     Despite the hardship, I have spoken with each witness and they have

  agreed to travel outside of Mainland China to sit for their deposition by the Court’s

  July 15 deadline if their travel would be approved by the relevant Chinese

  government authorities.




                                            3
Case 2:19-cv-15962-JXN-LDW Document 526-3 Filed 04/14/22 Page 4 of 4 PageID: 42308




        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct.

   Executed on: April 14, 2022

                                       Sammit Patel




                                           4
